 

Case 7:19-cr-01921 Document 4 Filed on 10/03/19.in TXSD Page 1 of 1

 

 

 

 

 

 

 

U.S. Department of Justice . . . a Criminal Docket
Washington, D.C. : :
9/27/2019/aa -

McALLEN Division CR. No. M- 1 9 - 19 2 1
CRIMINAL INFORMATION _Fitea: October 3, 2019 Judge: RANDY CRANE
County: Hidalgo
Lions #: 2019R27480 — Attorneys:
UNITED STATES OF AMERICA RYAN K. PATRICK, UNITED STATES ATTORNEY
v. Se ROBERTO LOPEZ, JR., ASST. U.S. ATTORNEY
DAVID FOX - a Ct. 1 _ Dennis Ramirez, Ret’d, (956) 461-2890

Bonded 10/7/19; $25,000 Unsecured Bond

Charge(s): Ct. 1: Perjury
Title 18, United States Code, Sections 1623(a)

Total
Counts

 

 

(1)

Penalty: Ct. 1: Imprisonment for up to 5 yrs. and/or a fine not to exceed $250,000 and not
more than a 3 yr. Se :

Agency: Federal Bureau of Investigation - Tas ason Malkiewicz - 194B-SA-2052028

 

Internal Revenue Service - Sonia Hurtado - 1000283338

Proceedings .
Date :

 

 

 

 

 

 

 
